               Case 2:17-cr-00087-TLN Document 44 Filed 10/06/17 Page 1 of 2

 1 PHILLIP A. TALBERT
   United States Attorney
 2 JEREMY J. KELLEY
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:17-CR-0087-TLN
11
                                   Plaintiff,            ORDER SEALING DOCUMENTS AS SET FORTH
12                                                       IN GOVERNMENT’S NOTICE
                            v.
13
     NORMAN THOMPSON,
14
                                  Defendant.
15

16

17          Pursuant to Local Rule 141(b) and based upon the representation contained in the government’s
18 Request to Seal, IT IS HEREBY ORDERED that the government’s four-page motion and supporting

19 memorandum pertaining to defendant Norman Thompson , and government’s Request to Seal shall be

20 SEALED until further order of this Court.

21          It is further ordered that access to the sealed documents shall be limited to the government and
22 counsel for the defendant.

23          The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court
24 for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in

25 the government’s request, sealing the government’s motion serves a compelling interest. The Court

26 further finds that, in the absence of closure, the compelling interests identified by the
27 / / /

28 / / /


      [PROPOSED] ORDER SEALING DOCUMENTS AS SET           1
30    FORTH IN GOVERNMENT’S NOTICE
              Case 2:17-cr-00087-TLN Document 44 Filed 10/06/17 Page 2 of 2

 1 government would be harmed. In light of the public filing of its request to seal, the Court further finds

 2 that there are no additional alternatives to sealing the government’s motion that would adequately

 3 protect the compelling interests identified by the government.

 4

 5 Dated: October 5, 2017

 6

 7

 8
                                                             Troy L. Nunley
 9
                                                             United States District Judge
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28


      [PROPOSED] ORDER SEALING DOCUMENTS AS SET          2
30    FORTH IN GOVERNMENT’S NOTICE
